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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


GEORGE C. LISHMAN II and VICKI
LISHMAN, his wife,
                                                      Civil Action No.:
                               Plaintiffs,
        v.                                            Transferor Court:
                                                      Court of Common Pleas
ALFA LAVAL, INC., individually and as                 Philadelphia County
successor-in-interest to Sharples Corp., and
TATE ANDALE, LLC,                                     April Term
                                                      No. 220402429
                 Defendants.



                DEFENDANT ALFA LAVAL INC.’S NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant Alfa Laval Inc., incorrectly sued as “Alfa Laval,

Inc., individually and as successor-in-interest to Sharples Corp.,” (“Alfa Laval”), by counsel,

pursuant to 28 U.S.C. §§ 1442 and 1446, hereby removes this civil action to the United States

District Court for the Eastern District of Pennsylvania from the Court of Common Pleas in

Philadelphia County, Pennsylvania. The specific grounds for removal are as follows:

                                      I.     OVERVIEW

       1.       On April 28, 2022, Plaintiffs George Lishman II (“Mr. Lishman”) and Vicki

Lishman (together, “Plaintiffs”) filed their Complaint against Alfa Laval and one other defendant,

commencing the action entitled George C. Lishman II and Vicki Lishman v. Alfa Laval, Inc. and

Tate Andale, LLC in the Court of Common Pleas in Philadelphia County, Pennsylvania, No.

2204057076. A true and correct copy of the Complaint (“Lishman Compl.”) is attached as Exhibit

1.

       2.       Alfa Laval was served with the Complaint on May 6, 2022. True and correct copies

of the service of process transmittal are attached as Exhibit 2. The Complaint alleges that Mr.
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Lishman was exposed to asbestos during his service in the United States Navy, as well as during

jobs that he held both before and after his Navy career.

        3.       Alfa Laval did not file responsive pleadings in the Court of Common Pleas in

Philadelphia County in advance of removing the case to this Court.

        4.       A true and correct copy of the state court docket is attached as Exhibit 3.

        5.       Alfa Laval has attached copies of all other pleadings and other papers filed in the

state court action as Exhibit 4.

        6.       As to Alfa Laval, Plaintiffs appear to allege that Mr. Lishman was exposed to

asbestos through Sharples lube oil purifiers during his service in the United States Navy. Lishman

Compl. ¶ 4(a), Schedule 1.

        7.       Throughout the company’s history, Sharples conducted a substantial amount of

government contract work, manufacturing oil purifiers for use on United States Navy ships and

submarines. At all times relevant to the allegations in the Complaint, Sharples manufactured and

supplied these oil purifiers at the direction of the United States Navy and pursuant to the strict

specifications of the United States Navy.

        8.       Any Sharples oil purifiers supplied to the United States Navy for use on the USS

Cony were manufactured and supplied pursuant to the strict specifications of the Navy. If any

asbestos-containing materials were used in the manufacture of oil purifiers supplied to the Navy,

they were used pursuant to the specifications of the United States Navy. Exhibit 5 1 Decl. of Rear

Admiral David P. Sargent, Jr. (“Sargent Decl.”) ¶¶ 30-75, 87-111.

        9.       The Navy’s contracts with the manufacturers of equipment used on its ships,

including the USS Cony, specified in great detail all the materials, processes and testing that were


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           Given the volume of documents supporting Real Admiral David. P. Sargent, Jr.’s Declaration, Alfa Laval
has not filed them with this Notice of Removal. However, they will be provided on request.

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required by invoking numerous Navy or Military Specifications and Standards. Id. These

contracts were binding on Sharples.        The equipment used on Navy ships and submarines

conformed to and complied with the Government’s specifications. Manufacturers could not vary

from those detailed specifications and standards in any way without the express approval of the

Navy and a modification to the contract documenting that approved change. Id.

       10.      As a result, Alfa Laval has colorable federal defenses to Plaintiffs’ claims under

Boyle v. United Technologies Corp., 487 U.S. 500 (1988), Yearsley v. WA Ross Construction Co.,

309 U.S. 18 (1940), Feres v. U.S., 340 U.S. 138 (1950), and the “combatant activities exception”

of the Federal Tort Claims Act. This case is thus removable on the grounds of federal officer

removal jurisdiction pursuant to 28 U.S.C. § 1442(a)(1).

       12.      This Notice of Removal is timely. The 30-day removal period prescribed by 28

U.S.C. § 1446(b) begins to run upon receipt by the defendant, through service or otherwise, of a

copy of the initial pleading setting forth the claim for relief upon which such action or proceeding

is based. 28 U.S.C. § 1446(b)(1). Alfa Laval was served with the Complaint in this action on May

6, 2022, at which time it learned that this case was removable. Thus, this Notice of Removal, filed

within 30 days of receipt through service of the Complaint, is timely.

       13.      This Notice of Removal and all exhibits hereto are being filed in the United States

District Court for the district and division in which the state court action is pending. See 28 U.S.C.

§ 1446(a).

       14.      Pursuant to § 1446(a), Alfa Laval has filed herewith a copy of all process,

pleadings, and orders served upon it in the case to date.

       15.      Alfa Laval is not required to notify, or obtain the consent of, any other defendant

in this action to remove the entire case under § 1442(a)(1). See 28 U.S.C. § 1446(b)(2)(A)



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(requiring all defendants to consent only when “a civil action is removed solely under section

1441(a)”).

        16.     Notice of removal has been, or will be, filed with the Court of Common Pleas in

Philadelphia County, Pennsylvania, and provided to all adverse parties pursuant to 28 U.S.C.

§ 1446(d).

                              II.     JURISDICTION AND VENUE

        17.     The Court’s subject matter jurisdiction is based on 28 U.S.C. §§ 1331 and

1442(a)(1) in that it is a civil action in which Plaintiffs’ alleged right to relief necessarily depends

on the resolution of a substantial question of federal law.

        18.     Venue is proper in Eastern District of Pennsylvania, because the state court action

was filed in the Court of Common Pleas in Philadelphia County, Pennsylvania. 28 U.S.C. §§

1442(a).

                              III.    GROUNDS FOR REMOVAL

        19.     Removal is proper under 28 U.S.C. § 1442(a)(1) of any state court action against

or directed to “[t]he United States or any agency thereof or any officer (or any person acting under

that officer) of the United States or of any agency thereof … for or relating to any act under color

of such office….” 28 U.S.C. § 1442(a)(1).

        20.     Removal pursuant to § 1442(a)(1) is not dependent on the plaintiff alleging a federal

cause of action. “This statute overcomes the well-pleaded complaint rule by providing a method

to remove a case brought in state court against a federal officer, or any other person acting under

a federal officer, despite the absence of a federal cause of action.” Nesbiet v. Gen. Elec. Co., 399

F. Supp. 2d 205, 210 (S.D.N.Y. 2005) (citing Jefferson County v. Acker, 527 U.S. 423, 431 (1999).

This statute “enables the defendant to have the validity of his immunity defense adjudicated, in a

federal forum.” Arizona v. Manypenny, 451 U.S. 232, 242 (1981).

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           21.     The Supreme Court has held that “the right of removal is absolute for conduct

performed under color of federal office, and has insisted that the policy favoring removal ‘should

not be frustrated by a narrow, grudging interpretation of § 1442(a)(1).’” Id. (quoting Willingham

v. Morgan, 395 U.S. 402, 407 (1969)); see also Papp v. Fore-Kast Sales Co., Inc., 842 F. 3d 805,

811-12 (3d Cir. 2016).

           22.     Removal pursuant to 28 U.S.C. § 1442(a)(1) is appropriate where the moving party

(a) is a “person” within the meaning of the statute, (b) can demonstrate that it acted under the

direction of a federal officer, (c) can demonstrate a “connection” or “association” between the

plaintiff’s claims and the acts it performed under color of federal office, and (d) can raise a

colorable federal defense to the plaintiffs’ claims. See Papp, 842 F.3d at 812; In re

Commonwealth's Motion to Appoint Counsel Against or Directed to Def Ass'n of Philadelphia,

790 F.3d 457, 471 (3d Cir. 2015), as amended (June 16, 2015); see also Mesa v. California, 489

U.S. 121, 124-25, 129-31, 134-35 (1989); Hagen v. Benjamin Foster Co., 739 F. Supp. 2d 770,

776 (E.D. Pa. 2010) (quoting Feidt v. Owens Corning Fiberglas Corp., 153 F.3d 124, 127 (3d

Cir. 1998)); Fung v. Abex Corp., 816 F. Supp. 569 (N.D. Cal. 1992); Machnik v. Buffalo Pumps,

Inc., 506 F. Supp. 2d 99, 102 (D. Conn. 2007). Here, Alfa Laval has alleged these requirements

and is thus entitled to remove the case.

           A.      Sharples Was a “Person” Acting Under the Direction of the Navy.

           23.     A corporation is a “person” within the meaning of section 1442(a)(1). Hagen, 739

F. Supp. 2d at 776 n. 6 (“It is well settled that corporations such as Defendants do qualify as

persons under the statute….”); Pack v. AC&S, 838 F. Supp. 1099 (D. Md. 1993); Fung, 816 F.

Supp. at 572. Thus, Sharples was, at all relevant times, a “person” within the meaning of the

statute.



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       24.     An entity acts under a federal officer when it assists, or helps carry out, the duties

or tasks of a federal superior. Watson v. Philip Morris Companies, Inc., 551 U.S. 142, 152 (2007);

see also Papp, 842 F.3d at 812 (“The ‘acting under’ requirement, like the federal removal statute

overall, is to be ‘liberally construe[d)’ to cover actions that involve ‘an effort to assist, or to help

carry out, the federal supervisor's duties or tasks.’”) (emphasis in original) (quoting Ruppel v. CBS

Corp., 701 F.3d 1176, 1181 (7th Cir. 2012)). Stated differently, “[a] defendant acts under a federal

officer where his or her actions that led to the lawsuit were based on a federal ‘officer’s direct

orders or comprehensive and detailed regulations.” Hagen, 739 F. Supp. 2d at 776 n. 6 (quoting

Good v. Armstrong World Indus., Inc., 914 F. Supp. 1125, 1128 (E.D. Pa. 1996)). Contracting to

“provide a product that the Government was using during war—a product that in the absence of

Defendants, the Government would have to produce itself”—under the close supervision of the

Government has been held sufficient to satisfy the “acting under” prong of the analysis. Isaacson

v. Dow Chem. Co., 517 F.3d 129, 136-37 (2d Cir. 2008); see Watson, 551 U.S. at 153-54; Papp,

842 F.3d at 812 (“When, as occurred in this instance, ‘the federal government uses a private

corporation to achieve an end it would have otherwise used its own agents to complete,’ that

contractor is ‘acting under’ the authority of a federal officer.”).

       25.     That is the case here. In supplying oil purifiers to be used on Navy ships, Sharples

was acting under the direction of an officer of the United States within the meaning of 28 U.S.C.

§ 1442(a)(1) pursuant to its contracts with the Navy and in strict accordance with precise

specifications provided by the Navy, including with respect to any asbestos-containing

components used or any instructions or warnings provided. See Ex. 5, Sargent Decl. ¶¶ 30-75,

85-111. Compliance with these specifications was directly monitored by Navy inspectors. See,

e.g., id. at ¶¶ 47, 54, 65. If the materials failed to conform to the detailed Navy specifications, the



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Navy officers could and would reject the materials. See, e.g., id. at ¶¶ 44-48, 54. Thus, the “acting

under” requirement is satisfied.

       B.      Alfa Laval Asserts Four Colorable Federal Defenses.

       26.     Alfa Laval has asserted facts establishing four colorable federal defenses that entitle

it to remove this case: (1) the government contractor defense under Boyle v. United Technologies

Corp., 487 U.S. 500 (1988); (2) derivative immunity under Yearsley v. WA Ross Construction Co.,

309 U.S. 18 (1940); (3) derivative immunity under Feres v. U.S., 340 U.S. 135 (1950); and (4) pre-

emption under the “combatant activities exception” of the Federal Tort Claims Act.

       27.     “While the Court must require that the facts identified by the defendant support the

federal defense, the Court is not called upon at this preliminary stage to pierce the pleadings or

dissect the facts stated. Nor is the Court’s function at this stage to determine credibility, weigh the

quantum of evidence or discredit the source of the defense.” Hagen, 739 F. Supp. 2d at 782.

       It is the sufficiency of the facts stated — not the weight of the proof presented —
       that matters. For policy reasons, Congress has erected a road to federal court for
       litigants who can invoke a federal defense. It is not the Court’s role to impose
       judicially created tolls on those who seek to travel on it. Thus, the Court concludes
       that a defense is colorable for purposes of determining jurisdiction under Section
       1442(a)(1) if the defendant asserting it identifies facts which, viewed in the light
       most favorable to the defendant, would establish a complete defense at trial.

Id. at 782-83; see also Papp, 842 F.3d at 815 (“At the removal stage, [the defendant] needed only

show that its asserted Boyle defense was ‘colorable,’ which is to say that the defense was

‘legitimate and [could] reasonably be asserted, given the facts presented and the current law.’”);

Magnin v. Teledyne Continental Motors, 91 F.3d 1424, 1427 (11th Cir. 1996) (ultimate validity of

defense not to be determined at time of removal).

       28.     Sharples’ manufacture of equipment used on Naval ships like the USS Cony was

done according to the strict specifications of the Navy and under the strict supervision of the Navy,



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including as to specifications and other requirements related to warnings. See Ex. 5 , Sargent

Decl. ¶¶ 30-75, 87-111.

       29.     The Navy selected the component parts and materials for its ships and submarines,

and specified their design, including the use of asbestos, if any. Id. The Navy required equipment

manufacturers to supply drawing and plans, which the Navy would approve and sometimes revise

or comment on before equipment was constructed and shipped. See, e.g., id. at ¶ 47. Equipment

could not have been installed on Navy vessels unless it was first determined by the Navy to be in

conformity with all applicable Navy specifications. See id. at ¶¶ 65.

       30.     Manufacturers like Sharples could not vary from those detailed requirements

without prior approval from the Navy. See id. at ¶¶ 30-75, 85-111.

       31.     To achieve its objective of ensuring that any markings on the component parts or

materials used in the construction of Navy ships filled the specific informational role the Navy

desired, for the specific Navy audience and environment, the Navy developed precise

specifications as to the nature of any markings, communications, or directions affixed to or made

a part of any equipment supplied by equipment manufacturers for ultimate use on Navy ships. See

id. at ¶¶ 59-64, 67-70, 87-111.

       32.     Manufacturers like Sharples would not have been permitted, under the

specifications, associated regulations and procedures, nor under the actual practice as it evolved in

the field, to vary or to deviate in any respect from Navy specifications in supplying equipment,

including affixing any type of warning or caution statement to equipment intended for installation

in a Navy ship, beyond those specifically required by the Navy without prior discussion and

express approval by the Navy. Id.




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        33.     The Navy similarly had precise specifications as the nature of written materials to

be delivered with equipment supplied by manufacturers such as Sharples and typically required

manufacturers to submit draft technical manuals for detailed review and feedback. Such manuals

included safety information to the extent – and only to the extent – directed by the Navy. See id.

        34.     The Navy also had detailed requirements for how equipment it purchased from

manufacturers like Sharples had to be packaged. See id.

        35.     The Navy also exercised control over equipment manufacturers like Sharples by

requiring in process testing and approval. See, e.g., id. at ¶¶ 44, 47, 66.

        36.     Further, the Navy required manufacturers like Sharples to conduct extensive testing

at the manufacturing facility, including shock testing, balance testing, vibration testing, noise

testing, surge load testing, tolerance measurement, endurance testing, radiographic testing, and

more at the manufacturer’s facility before the equipment was shipped. The Navy then reviewed

the results before accepting the equipment, and subjected the equipment to further testing after

delivery. See, e.g. id. at ¶¶ 44, 47, 51.

        37.     In sum, all equipment manufactured by Sharples to be used on Navy ships and

submarines was subject to thorough inspection and testing by the Navy prior to approval to ensure

complete conformity with its specifications. See generally Ex. 5, Sargent Decl.

        38.     The Navy had state of the art knowledge concerning the potential risks associated

with exposure to asbestos. The Navy was, and still is, one of the world’s largest heavy industrial

concerns and had its own industrial hygiene program to provide protection for its uniformed and

civilian workforce. As a result, Navy organizations, including the Bureau of Medicine and

Surgery, the Bureau of Ships, and their successors, developed and acquired state of the art

knowledge concerning the potential risks or hazards relating to work with or around asbestos-



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containing materials and equipment. The Navy possessed information superior to that of its

government contractors on issues of industrial hygiene and asbestos medicine, including any

potential risks involved with use of asbestos-containing components or materials. See, e.g.,

Latiolais v. Huntington Ingalls, Inc., 951 F.3d 286, 291 (5th Cir. 2020) (en banc); Ruppel, 701

F.3d at 1185; Shuman v. United States, 765 F.2d 283, 285-86 (1st Cir. 1989); Kraus v. Alcatel-

Lucent et. al., No. CV 18-2119, 2018 WL 3585088, at *4-5 (E.D. Pa. July 25, 2018); Gates, v.

A.O. Smith Water Prod. Co., No. 3:13-CV-1435, 2014 WL 104965, at *5 (N.D.N.Y. Jan. 9, 2014);

Gordon v. Air & Liquid Sys. Corp., 990 F.Supp.2d 311, 315 (E.D.N.Y. 2014); Marley v. Elliott

Turbomachinery Co., Inc., 545 F.Supp.2d 1266, 1271 (S.D. Fla. 2008); Blackman v. Asbestos

Defendants (BHC), No. C-97-3066, 1997 WL 703773, *3 (N.D. Cal. 1997); Pack v. AC and S,

Inc., et al., 838 F.Supp. 1099 (D. Md. 1993); Fung, 816 F.Supp. at 569.

i.     Boyle v. United Technologies Corp.

       39.     Based on these facts, all of Plaintiffs’ claims against Alfa Laval are affirmatively

barred by the government contractor defense as set forth by the U.S. Supreme Court in Boyle v.

United Technologies Corp., 487 U.S. 500 (1988). Pursuant to this federal defense, government

contractors, such as Alfa Laval, are immune from liability arising from work performed for the

United States military when: (a) the United States approved reasonably precise specifications;

(b) the equipment conformed to these specifications; and (c) the equipment supplier warned

the military about any hazards involved in the use of the equipment that are known to the

equipment supplier but not known to the military. Boyle, 487 U.S. at 512; see also Papp, 842

F.3d at 814.

       40.     Analyzing the Boyle factors in light of the facts set forth above, it is clear that Alfa

Laval has a colorable federal defense with respect to Plaintiffs’ claims: (a) the Navy provided strict



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design specifications for the manufacture of equipment used on the USS Cony, including asbestos-

containing components, if any, (b) Sharples complied with the Navy’s specifications for the

manufacture of such equipment, including the use of asbestos, if any, and (c) the Navy had state

of the art knowledge and was aware of potential health hazards of working with or around asbestos-

containing materials, and thus, Sharples would not have had knowledge of any hazards associated

with the use of the equipment or materials which was not already known to the United States. Alfa

Laval is thus entitled to the government contractor defense with respect to Plaintiffs’ claims. See

Papp, 842 F.3d at 814 (3d Cir. 2016); Latiolais v. Huntington Ingalls, Inc., 951 F.3d 286, 298 (5th

Cir. 2020); Betzner v. Boeing Company, 910 F.3d 1010, 1016 (7th Cir. 2018); Sawyer v. Foster

Wheeler LLC, 860 F.3d 249, 256 (4th Cir. 2017); Ripley v. Foster Wheeler LLC, 841 F.3d 207 (4th

Cir. 2016); Ruppel, 701 F.3d at 1183; Vedros v. Northrop Grumman Shipbuilding, Inc., No.

CIV.A. 2:11-67281-ER, 2012 WL 3155180, at *7 (E.D. Pa. Aug. 2, 2012); Marley, 545 F.Supp.

at 1271; Pack, 838 F.Supp. at 1103.

ii.    Yearsley v. WA Ross Construction Co.

       41.     Alfa Laval is also entitled to federal officer removal under 28 U.S.C. 1442(a)(1)

based upon the separate and additional federal defense of derivative sovereign immunity as set

forth in Yearsley v. WA Ross Construction Co., 309 U.S. 18 (1940).

       42.     Yearsley established that a government contractor, performing at the direction and

authorization of a government officer, is immune from suit based upon performance of the

contract. Id. at 20-21; Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 673 (2016), as revised (Feb.

9, 2016) (“Where the Government’s ‘authority to carry out the project was validly conferred, that

is, if what was done was within the constitutional power of Congress,’ we explained, ‘there is no




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liability on the part of the contractor’ who simply performed as the Government directed.”

(quoting Yearsley)).

       43.     For the reasons previously stated herein, that is the case here. To the extent

Sharples used any asbestos-containing components in the manufacture of equipment used on the

USS Cony, it did so as a result of the Navy’s strict design specifications. In other words, any use

of asbestos-containing component parts occurred at the direction of the Navy, acting pursuant to

government authorization, such that if the government had performed these acts directly, it would

be immune from suit. Alfa Laval should be as well.

iii.   Feres v. U.S.

       44.     Alfa Laval has also asserted a colorable defense under Feres v. U.S., 340 U.S. 135

(1950), and it may invoke federal officer removal. In Feres, the United States Supreme Court held

that the United States government is immune from suit by service members for “injuries that arise

out of or in the course of activity incident to service.” Id. at 146. Here, Sharples acted under the

direction and control of the United States Navy, and Alfa Laval is entitled to derivative immunity.

       45.     Plaintiffs allege that Mr. Lishman served in the United States Navy, and the

Complaint ostensibly alleges that he was exposed to asbestos while serving on two Navy ships—

the USS Shenandoah, and the USS Cony. Under Feres, Plaintiffs plainly could not assert a claim

against the United States for Mr. Lishman’s service-related injuries.

       46.     As discussed herein, to the extent Sharples supplied equipment to the United States

Navy for use on the USS Cony, it did so according to the strict specifications of the Navy, including

the use of asbestos, if any. As a government contractor following the specifications of the Navy,

Alfa Laval should be entitled to the same immunity afforded the United States under Feres.

iv.    Combatant Activities Exception



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       47.     Alfa Laval is also entitled to removal under 28 U.S.C. 1442(a)(1) based upon its

colorable federal defense under the “combatant activities exception” of the Federal Tort Claims

Act, which bars suit against the federal government for claims “arising out of the combatant

activities of the military or naval forces, or the Coast Guard, during time of war.” 28 U.S.C. §

2680(a). The principles underlying the combatant activities exception have been extended to

preempt claims against government contractors. See, e.g., Saleh v. Titan Corp., 580 F.3d 1 (D.C.

Cir. 2009); Koohi v. United States, 976 F.2d 1328, 1336 (9th Cir. 1992); Johnson v. United States,

170 F.2d 767, 770 (9th Cir. 1948).

       48.     The Third Circuit has adopted a two-prong test to determine whether the

“combatant activities” exception applies. Harris v. Kellogg Brown & Root Services, Inc., 724

F.3d 459 (3d Cir. 2013). The first prong is “whether the contractor is integrated into the military’s

combatant activities.” Id. at 481. The second prong is “whether the contractor’s actions were the

result of the military’s retention of command authority” over the activities at issue. Id. Here, both

prongs are satisfied.

       49.     Sharples’ manufacture of oil purifiers for use on Navy destroyers satisfies the

“combatant activities” prong. A contractor does not have to participate in actual combat to invoke

immunity under this provision. Rather, combatant activities “include not only physical violence

but activities both necessary to and in direct connection with actual hostilities.” Id. (citations

omitted). Here, the USS Cony was commissioned in 1942 and used by the Navy during World

War II. 2 Thus, it is clear that by supplying oil purifiers for use on that ship, Sharples was engaged

in activities “both necessary to and in direct connection with actual hostilities.”




       2
          See NavSource Online: Cruiser Photo Archive, USS Cony (DD-508 / DDE-508), available at
http://www.navsource.org/archives/05/508.htm. See also https://en.wikipedia.org/wiki/USS_Cony_(DD-508).

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       50.     The second prong is also satisfied.       As discussed herein, the Navy retained

command control over the equipment on the ship and specified the materials to be used, including

asbestos-containing components, if any.

       51.     Thus, Alfa Laval has asserted a colorable defense that it is entitled to immunity

under the “combatant activities” exception to the Federal Tort Claims Act.

       C.      Alfa Laval Has Demonstrated a Connection Between Plaintiffs’ Claims and
               the Acts It Performed Under Color of Federal Office.

       52.     Finally, Alfa Laval has plainly demonstrated a “connection” or “association”

between Plaintiffs’ claims in this action and the acts taken by Shaprles under the direction of

federal officers. Plaintiffs’ claims against Alfa Laval appear to arise from Mr. Lishman’s alleged

exposure to asbestos-containing components of equipment manufactured for the Navy for use on

Navy ships pursuant to the specifications of Sharples’ contracts with the Navy. As set forth above,

the claims against Alfa Laval are inseparable from the government specifications that required the

use of asbestos, if any, such that a clear causal nexus exists between Plaintiffs’ claims and the acts

performed by Sharples under color of federal office. See Boyle, 487 U.S. 500; see also Papp, 842

F.3d at 813; Baker v. Atlantic Richfield Company, 962 F.3d 943 (7th Cir. 2020); Sawyer, 860 F.3d

at 258; Ripley, 841 F.3d at 211; Marley, 545 F.Supp.2d at 1271; Mitchell v. AC & S, Inc., No.

CIV.A. 4:04CV2713, 2004 WL 3831228, at *12-13 (E.D. Va. Dec. 15, 2004); Sundstrom v.

McDonnell Douglas Corp., 816 F.Supp. 587 (N.D. Cal. 1993); Pack, 838 F.Supp. 1099; Fung, 816

F.Supp. 569. All the more so, a “connection” or “association” between the act in question and the

federal office has been demonstrated.

                                      IV.     CONCLUSION

       53.     Removal of this action is proper under 28 U.S.C. § 1442 (a)(1).




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       54.       Should Plaintiffs move to remand this case, Alfa Laval respectfully requests an

opportunity to respond more fully in writing, including the submission of additional affidavits and

authority.

       55.       Alfa Laval reserves all of its defenses.

       WHEREFORE, Alfa Laval Inc. has stated sufficient bases for removal under § 1442, and

thus, respectfully requests that this matter proceed in federal court. This Notice has been served

on all counsel of record on the date and manner stated in the Certificate of Service.

       Respectfully submitted this 26th day of May, 2022.

                                                KENT/McBRIDE, P.C.


                                        BY:     s/ Theresa Mullaney
                                                Theresa M. Mullaney, Esquire
                                                Kent/McBride, P.C.
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                                                Counsel for Defendant, Alfa Laval Inc.




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                                CERTIFICATE OF SERVICE

       I, Theresa M. Mullaney, hereby certify that a copy of the attached Notice of Removal and

its attachments was served upon all parties of record by first class U.S. Mail, postage prepaid, on

May 26, 2022.

                                              KENT/McBRIDE, P.C.



                                      BY:    s/ Theresa Mullaney
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